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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;SUMMARY &lt;/div&gt;
&lt;div&gt;October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2024COA109&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;No. 24CA0451, &lt;span&gt;Said v. Magdy&lt;/span&gt; &lt;span&gt;â&lt;/span&gt; No. 24CA0451, &lt;span&gt;Said v. Magdy&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;â&lt;span&gt; Courts and Court Procedure &lt;/span&gt;â&lt;span&gt; Action Involving Exercise of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Constitutional Rights &lt;span&gt;â&lt;/span&gt; Anti-SLAPP &lt;span&gt;â&lt;/span&gt; Special Motion to &lt;/div&gt;
&lt;div&gt;Dismiss; Civil Procedure &lt;span&gt;â&lt;/span&gt; Motion for Reconsideration &lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Motions for Post-Trial Relief; Appeals &lt;span&gt;â&lt;/span&gt; Time for Filing Notice&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;of Appeal &lt;span&gt;â&lt;/span&gt; Tolling &lt;/div&gt;
&lt;div&gt;A division of the court of appeals holds that, if timely &lt;span&gt;&lt;/span&gt;filed, a &lt;/div&gt;
&lt;div&gt;motion for reconsideration of an order denying a special moti&lt;span&gt;&lt;/span&gt;on to &lt;/div&gt;
&lt;div&gt;dismiss under the anti-SLAPP statute, section 13-&lt;span&gt;20&lt;/span&gt;-1101, C.R.S. &lt;/div&gt;
&lt;div&gt;2024, is properly construed as a C.R.C.P. 59 motion &lt;span&gt;&lt;/span&gt;that tolls the &lt;/div&gt;
&lt;div&gt;time for filing a notice of appeal because the trial courtâs o&lt;span&gt;&lt;/span&gt;rder, &lt;/div&gt;
&lt;div&gt;though not final, is nevertheless appealable as required by C.R.C.P. &lt;/div&gt;
&lt;div&gt;54, 58, and 59. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;The summaries of the Colorado Court of Appeals published opinions &lt;/div&gt;
&lt;div&gt;constitute no part of the opinion of the division but have been prepared by &lt;/div&gt;
&lt;div&gt;the division for the convenience of the reader.  The summaries may not be &lt;/div&gt;
&lt;div&gt;cited or relied upon as they are not the &lt;span&gt;official language of the division. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Any discrepancy between the language in the summary and in the opinion &lt;/div&gt;
&lt;div&gt;should be resolved in favor of the language in the opinion. &lt;/div&gt;
&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMI/Rmr/MMIRmrLXztDTaQE4J%2BTuAgumZr5OM5qTtid06pbTlMYNg%3D?AWSAccessKeyId=ASIA5PHC3MTPRFH4LCWF&amp;amp;Expires=1728820995&amp;amp;Signature=eAz1kUhfP7UZp4F%2B%2FAFlMdeJVJA%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGMaCXVzLWVhc3QtMSJIMEYCIQDSEVhFPXrBZoDQlXBWix35tSCg5QPBboQwdM8HFK317QIhAJPlnc94AV6HincokHpH59NdlvooLHSaFcMy36PUqMDkKroFCLz%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1IgxnK%2Bq%2Fv4XV%2FvyPhr4qjgVnVPq52UdBL4Wp0yrdO%2Ff0ZBAEFS03RSTLteLnRQYeYcIXoVeAnXIw3bUz393kuOtFCKk8NPed7kCs3QdJsTRsEbPqNMfCJ7Xcg9Pbqg7skWMBC82wk45XBb70Pdo6Uz1bKXVtsLqSf38ikj6424ZsQYmlq5JsBFdb0VPegy%2BHrFkPwBHN%2BaPncYhY7H96fmaLm5lIRFtg75jLQAklAg7WpY5MYzqeWlcuYn70GG9Tor8Tdp%2BD8xaZ34RCU834I6SDPcpJcTlkAWbKUuABykeTDNu7AZNpMMp5l8TGYNmrpHLLiuhZHjwlM%2Byvd1WyEENkWMM6T4IkfcFzC39V4ObI1LrbW91Z88XxCXAaw5xI5l5sGCsoKqQSsL0RaM82zfjKpSiQZnBtNFqHWq9m%2BeTSKAD5IzVF51yOWJ9amGy9dpNjVbYphfep0lfAaE%2FBZEcyBlghY6KOX67jIEb36gJStQed0TV5JsYiSSdf%2B8Y%2FkNZwq1VZWwHN5Q57NFv5HP6bvYyFZAAhTd%2FbFbfZuvoXIGsLIZefocN0pQa6CVh6m%2BhC%2Bem%2FIGkWG6R1vKf4390eyzOdO%2FbzdD4Ho0g%2FFo8UvksUsLICMnqTl8eFsV32JHyvEZsZB4lPrU%2BxghE68nrwOYPfXC0rpEywz6eWqfYymTKdroS4iqlXhmHaH54De4hKg9X105i6%2BqeVVSy2q8ieQJ%2Fg1erCAe2otiRHLDdYGpoZHkpGiwiwzGcyXB9xk%2B%2B8LssgSoL3tpWLWqrVvEpv4GLJaqHLUlgBIex4N7tGeoyBIqIxKs%2Fs8evRnToapYZgHFeYSnwI1Kq9sF0sXSsk8%2BTKadx7mtUCOaRIgHcBGCBPGRHQlUDUWXOvMD4wi8yuuAY6sAH5dAK%2BITAWgqyIYAadrAMngUkPc7Z%2B0Ech9LCTxiQSXlq9bFlKhYnF2PabRV25WYVqmO6937mOi%2ByQg4slQovB9lWKRWB9gT3CDwTzW70z8Y0Jji7L04SAhsIX1ZKd3WvSTxYNZqJmufMH7gfLtqfHJoY9KURSS6F41MWO7aBAdDzOBI%2F2MKH5oiwzDGbJsNBUgMSKmtOIyE2fNP4Vv1xU%2BMKhHtBd9jCrFWI%2BzEotfQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS                                                &lt;span&gt;2024COA109&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 24CA0451 &lt;/div&gt;
&lt;div&gt;Arapahoe County District Court No. 23CV31428 &lt;/div&gt;
&lt;div&gt;Honorable Thomas W. Henderson, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Said M. Said, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiff-Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Mohamed Magdy, M.D., &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendant-Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;MOTION DENIED &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division A &lt;/div&gt;
&lt;div&gt;O&lt;span&gt;rder&lt;/span&gt;&lt;span&gt; by JUDGE HARRIS &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Schutz and &lt;span&gt;Lum, JJ., concur&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Conduit Law, &lt;span&gt;LLC,&lt;/span&gt; &lt;span&gt;Elliot&lt;/span&gt; A. Singer, Denver, Colorado, for Plaintiff-Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;The Paul Wilkinson Law Firm &lt;span&gt;LLC, &lt;/span&gt;Nelson Boyle, Denver, Colorado, for &lt;/div&gt;
&lt;div&gt;Defendant-Appellant &lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Section 13-&lt;span&gt;20&lt;/span&gt;-1101, C.R.S. 2024, colloquially known as the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;anti-&lt;span&gt;SLAPP statute (âSLAPPâ is an acronym for âstrategic laws&lt;span&gt;&lt;/span&gt;uit &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;against public participation,&lt;span&gt;â&lt;/span&gt; &lt;span&gt;Salazar v. Pub. Tr. Inst.&lt;/span&gt;, 2022 CO&lt;span&gt;&lt;/span&gt;A &lt;/div&gt;
&lt;div&gt;109M, Â¶ 1 n.1), requires early dismissal of any claim arising from &lt;/div&gt;
&lt;div&gt;conduct protected by the First Amendment that involves a p&lt;span&gt;&lt;/span&gt;ublic &lt;/div&gt;
&lt;div&gt;issue, unless the plaintiff establishes a reasonable likelihood of &lt;/div&gt;
&lt;div&gt;prevailing on the claim.  Â§ 13-&lt;span&gt;20&lt;/span&gt;-1101(3)(a).  An order granting or &lt;/div&gt;
&lt;div&gt;denying &lt;span&gt;a statutory âspecial motion to dismissâ &lt;/span&gt;is immediately &lt;/div&gt;
&lt;div&gt;appealable to the court of appeals.  Â§ 13-&lt;span&gt;20&lt;/span&gt;&lt;span&gt;-1101(7)&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also&lt;/span&gt; Â§ 13-&lt;/div&gt;
&lt;div&gt;4-102.2, C.R.S. 2024.&lt;span&gt;  &lt;/span&gt;The notice of appeal must be filed within&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;forty-nine days after entry of the order &lt;span&gt;on&lt;/span&gt; the special motion t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;dismiss.  &lt;span&gt;See &lt;/span&gt;C.A.R. 4(a)(1). &lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;As a preliminary jurisdictional matter, we must resolve &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whether a motion for reconsideration of &lt;span&gt;an&lt;/span&gt; order denying a special &lt;/div&gt;
&lt;div&gt;motion to dismiss, which did not cite either C.R.C.P. 59 or C.R.C.&lt;span&gt;&lt;/span&gt;P. &lt;/div&gt;
&lt;div&gt;121, section 1-&lt;span&gt;15&lt;/span&gt;(11), toll&lt;span&gt;ed&lt;/span&gt; the time for filing a notice of appeal.&lt;span&gt;    &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;We conclude that the motion for reconsideration is properly &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;construed as a Rule 59 motion that tolls the deadline for filing a &lt;/div&gt;
&lt;div&gt;notice of appeal under the anti-SLAPP statute&lt;span&gt;.  &lt;/span&gt;And because the &lt;/div&gt;
&lt;div&gt;notice of appeal was filed within forty-nine days after entry of &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;order denying the motion for reconsideration, the notice of appeal &lt;/div&gt;
&lt;div&gt;was timely&lt;span&gt;. &lt;/span&gt; Accordingly, we deny the motion to dismiss this ap&lt;span&gt;&lt;/span&gt;peal. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background  &lt;span&gt;  &lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiff, Said M. Said, filed &lt;span&gt;a &lt;/span&gt;defamation action against his &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;wifeâs ex&lt;span&gt;-husband, defendant, Mohamed Magdy, alleging that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Magdy had falsely accused him of committing criminal con&lt;span&gt;&lt;/span&gt;duct.  &lt;/div&gt;
&lt;div&gt;Magdy denied the allegations and filed a special motion to dismiss &lt;/div&gt;
&lt;div&gt;the complaint under section &lt;span&gt;13&lt;/span&gt;&lt;span&gt;-&lt;span&gt;20&lt;/span&gt;-1101&lt;/span&gt;&lt;span&gt;.  &lt;/span&gt;The district court denied &lt;/div&gt;
&lt;div&gt;the motion on December 29, 2023&lt;span&gt;.  &lt;/span&gt;Fourteen days later, Magdy filed &lt;/div&gt;
&lt;div&gt;a motion for reconsideration.  The district court denied that motion, &lt;/div&gt;
&lt;div&gt;too, and thirty days later, on March 20, 2024, Magdy filed a notice &lt;/div&gt;
&lt;div&gt;of appeal in this court, seeking review of the order denying his &lt;/div&gt;
&lt;div&gt;special motion to dismiss. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;Said moves to dismiss the appeal as untimely, arguing that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the notice of appeal was not filed within forty-nine days of the &lt;/div&gt;
&lt;div&gt;denial of the motion to dismiss. &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;In response, Magdy argues that the motion for reconsideration &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was effectively a Rule 59 motion that tolled the time for filing &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;notice of appeal.  And, he asserts, because the notice was filed &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;within forty-nine days of the order denying his motion for &lt;/div&gt;
&lt;div&gt;reconsideration, it was timely.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;Alternatively&lt;span&gt;, &lt;span&gt;Magdy argues that even if the notice was &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;untimely, the late filing was attributable to excusable neglect, and, &lt;/div&gt;
&lt;div&gt;therefore, we should accept the notice out of time.  &lt;span&gt;See&lt;/span&gt; C.A.R. &lt;/div&gt;
&lt;div&gt;4(a)(4) (âU&lt;span&gt;pon a showing of excusable neglect, the appellate c&lt;span&gt;&lt;/span&gt;ourt &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;may extend the time to file the notice of appeal for a period not &lt;span&gt;&lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;exceed 35 days . . . .&lt;span&gt;â&lt;/span&gt;&lt;span&gt;).&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;As noted, subject to an exception inapplicable here, a notice of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appeal in a civil case must be filed âwithin 49 days after entry of &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;judgment, decree, or order being appealed.â  &lt;span&gt;C.A.R. 4(a)(1).  &lt;span&gt;But&lt;/span&gt; &lt;span&gt;as &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Said acknowledges, a timely filed Rule 59 motion (i.e., one f&lt;span&gt;&lt;/span&gt;iled &lt;/div&gt;
&lt;div&gt;within fourteen days of the order or judgment) tolls the deadline for &lt;/div&gt;
&lt;div&gt;filing a notice of appeal.  &lt;span&gt;See &lt;span&gt;C.A.R. 4(a)(4) (â&lt;/span&gt;&lt;/span&gt;The running of the &lt;span&gt;&lt;/span&gt;time &lt;/div&gt;
&lt;div&gt;for filing a notice of appeal is terminated as to all parties w&lt;span&gt;&lt;/span&gt;hen any &lt;/div&gt;
&lt;div&gt;party timely files a motion in the lower court pursuant t&lt;span&gt;&lt;/span&gt;o C.R.C.P. &lt;/div&gt;
&lt;div&gt;59&lt;span&gt;â and recommences on entry of a timely order disp&lt;span&gt;&lt;/span&gt;osing of the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;motion or the expiration of the time for ruling on the motion &lt;span&gt;&lt;/span&gt;under &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;div id="pf6" data-page-no="6"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;C.R.C.P. 59(j).); C.R.C.P. 59(j) (after sixty-three days of its filin&lt;span&gt;&lt;/span&gt;g, any &lt;/div&gt;
&lt;div&gt;post-trial motion that has not been decided is deemed denied). &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;Said argues, though, &lt;span&gt;that Magdyâs motion for reconsideration&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;while &lt;span&gt;filed within fourteen days of the courtâs order&lt;/span&gt; denying the &lt;/div&gt;
&lt;div&gt;motion to dismiss, cannot properly be construed as a Rule 59 &lt;/div&gt;
&lt;div&gt;motion.  &lt;span&gt;According to Said, Rule 59 applies only to âpost&lt;/span&gt;&lt;span&gt;-&lt;/span&gt;&lt;span&gt;trialâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;motions for relief from a final judgment, and here, b&lt;span&gt;&lt;/span&gt;ecause no trial &lt;/div&gt;
&lt;div&gt;has yet occurred, the order is nonfinal and therefore not subject to &lt;/div&gt;
&lt;div&gt;a &lt;span&gt;Rule 59 motion.  We disagree.   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;As an initial matter, our case law makes clear that a motion &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for reconsideration can qualify as a Rule 59 motion even if &lt;span&gt;it&lt;/span&gt; does &lt;/div&gt;
&lt;div&gt;not cite Rule 59, &lt;span&gt;Cuevas v. Pub. Serv. Co. of Colo.&lt;/span&gt;, 2023 COA 64M, &lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;13 (â[M]otions to reconsider need not cite or reference C.R.C.&lt;span&gt;&lt;/span&gt;P. 59 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to be recognized as falling within its purview.â) (&lt;span&gt;cert. granted on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;other grounds&lt;span&gt; July 1, 2024), and even if no trial is held&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;span&gt;see, e.g.&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Spiremedia Inc. v. Wozniak&lt;span&gt;, 2020 COA 10, Â¶ 18 (concluding that &lt;span&gt;a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âmotion to reconsiderâ &lt;span&gt;an order dismissing a case without prej&lt;span&gt;&lt;/span&gt;udice &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;was a Rule 59 motion); &lt;span&gt;Bowlen v. Fed. Deposit Ins. Corp.&lt;/span&gt;, 815 P.2&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;1013, 1015 (Colo. App. 1991) (concluding that a motion to &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;reconsider an order granting summary judgment was a Rule &lt;span&gt;&lt;/span&gt;59 &lt;/div&gt;
&lt;div&gt;motion).  &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;And contrary to &lt;span&gt;Saidâs &lt;/span&gt;position, we conclude that Rule &lt;span&gt;59 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;applies to motions seeking relief from orders that&lt;span&gt;, while not âfinalâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in the sense that they resolve all claims as to all parties&lt;span&gt;, &lt;/span&gt;&lt;span&gt;see Wilson &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. Kennedy&lt;span&gt;, 2020 COA 122, Â¶ 7 (explaining finality of&lt;span&gt;&lt;/span&gt; judgments), &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;are nevertheless appealable pursuant to &lt;span&gt;a &lt;/span&gt;statute or rule&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;Rule 59(a) provides&lt;span&gt;, &lt;/span&gt;in relevant part, &lt;span&gt;that â[w]ithin 14 days of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;entry of judgment as provided in C.R.C.P. 58 . . . &lt;span&gt;&lt;/span&gt;a party may move &lt;/div&gt;
&lt;div&gt;for post-&lt;span&gt;trial relief.â  &lt;/span&gt;Thus, the rule authorizes a post-trial motion &lt;/div&gt;
&lt;div&gt;whe&lt;span&gt;never &lt;span&gt;a &lt;/span&gt;&lt;span&gt;âjudgmentâ is entered &lt;/span&gt;under Rule 58.  &lt;span&gt;A &lt;/span&gt;&lt;span&gt;âjudgmentâ &lt;/span&gt;for &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;purposes of &lt;span&gt;Rule 58 âincludes an appealable decree or or&lt;span&gt;&lt;/span&gt;der as set &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;forth in C.R.C.P. 54(a).&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;Rule 54(a), in turn, &lt;span&gt;defines a âjudgmentâ &lt;/span&gt;to &lt;/div&gt;
&lt;div&gt;include &lt;span&gt;âa decree and order to or from which an appeal lies.â  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;So a &lt;span&gt;âjudgmentâ &lt;/span&gt;need not be &lt;span&gt;âfinalâ to be subject to a post&lt;/span&gt;-trial &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;motion.  Instead, Rules 54, 58, and 59 require that an order or &lt;/div&gt;
&lt;div&gt;judgment &lt;span&gt;be&lt;/span&gt; &lt;span&gt;âappealable&lt;span&gt;.â&lt;/span&gt;&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;And while finality is generally a &lt;/div&gt;
&lt;div&gt;prerequisite to appealability, &lt;span&gt;see Ditirro v. Sando&lt;/span&gt;, 2022 COA 94, &lt;/div&gt;
&lt;div&gt;Â¶ 24, &lt;span&gt;th&lt;/span&gt;e rule is subject to various exceptions&lt;span&gt;, &lt;/span&gt;&lt;span&gt;see, e.g.&lt;/span&gt;, Â§ 13-&lt;span&gt;22&lt;/span&gt;-&lt;/div&gt;
&lt;div&gt;228(1)(a)-(b), C.R.S. 2024 (authorizing an appeal of an order &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTPRFH4LCWF&amp;amp;Expires=1728820995&amp;amp;Signature=n2uOXetPA0LmNRTefDQm5eS%2F8QI%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGMaCXVzLWVhc3QtMSJIMEYCIQDSEVhFPXrBZoDQlXBWix35tSCg5QPBboQwdM8HFK317QIhAJPlnc94AV6HincokHpH59NdlvooLHSaFcMy36PUqMDkKroFCLz%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1IgxnK%2Bq%2Fv4XV%2FvyPhr4qjgVnVPq52UdBL4Wp0yrdO%2Ff0ZBAEFS03RSTLteLnRQYeYcIXoVeAnXIw3bUz393kuOtFCKk8NPed7kCs3QdJsTRsEbPqNMfCJ7Xcg9Pbqg7skWMBC82wk45XBb70Pdo6Uz1bKXVtsLqSf38ikj6424ZsQYmlq5JsBFdb0VPegy%2BHrFkPwBHN%2BaPncYhY7H96fmaLm5lIRFtg75jLQAklAg7WpY5MYzqeWlcuYn70GG9Tor8Tdp%2BD8xaZ34RCU834I6SDPcpJcTlkAWbKUuABykeTDNu7AZNpMMp5l8TGYNmrpHLLiuhZHjwlM%2Byvd1WyEENkWMM6T4IkfcFzC39V4ObI1LrbW91Z88XxCXAaw5xI5l5sGCsoKqQSsL0RaM82zfjKpSiQZnBtNFqHWq9m%2BeTSKAD5IzVF51yOWJ9amGy9dpNjVbYphfep0lfAaE%2FBZEcyBlghY6KOX67jIEb36gJStQed0TV5JsYiSSdf%2B8Y%2FkNZwq1VZWwHN5Q57NFv5HP6bvYyFZAAhTd%2FbFbfZuvoXIGsLIZefocN0pQa6CVh6m%2BhC%2Bem%2FIGkWG6R1vKf4390eyzOdO%2FbzdD4Ho0g%2FFo8UvksUsLICMnqTl8eFsV32JHyvEZsZB4lPrU%2BxghE68nrwOYPfXC0rpEywz6eWqfYymTKdroS4iqlXhmHaH54De4hKg9X105i6%2BqeVVSy2q8ieQJ%2Fg1erCAe2otiRHLDdYGpoZHkpGiwiwzGcyXB9xk%2B%2B8LssgSoL3tpWLWqrVvEpv4GLJaqHLUlgBIex4N7tGeoyBIqIxKs%2Fs8evRnToapYZgHFeYSnwI1Kq9sF0sXSsk8%2BTKadx7mtUCOaRIgHcBGCBPGRHQlUDUWXOvMD4wi8yuuAY6sAH5dAK%2BITAWgqyIYAadrAMngUkPc7Z%2B0Ech9LCTxiQSXlq9bFlKhYnF2PabRV25WYVqmO6937mOi%2ByQg4slQovB9lWKRWB9gT3CDwTzW70z8Y0Jji7L04SAhsIX1ZKd3WvSTxYNZqJmufMH7gfLtqfHJoY9KURSS6F41MWO7aBAdDzOBI%2F2MKH5oiwzDGbJsNBUgMSKmtOIyE2fNP4Vv1xU%2BMKhHtBd9jCrFWI%2BzEotfQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;denying a motion to compel arbitration or an order g&lt;span&gt;&lt;/span&gt;ranting a &lt;/div&gt;
&lt;div&gt;motion to stay arbitration); Â§ 24-&lt;span&gt;10&lt;/span&gt;-108, C.R.S. 2024 (authorizing &lt;/div&gt;
&lt;div&gt;an appeal of &lt;span&gt;an order denying a public entityâs motion t&lt;span&gt;&lt;/span&gt;o dismiss &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;based on sovereign immunity); C.A.R. 1(a)(3) (authori&lt;span&gt;&lt;/span&gt;zing an appeal &lt;/div&gt;
&lt;div&gt;of an order granting or denying a temporary injunction); &lt;span&gt;Feigin v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Alexa Grp., Ltd.&lt;span&gt;, 19 P.3d 23, 26 (Colo. 2001) (authori&lt;span&gt;&lt;/span&gt;zing an appeal &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of an order denying a motion to intervene as a matter of right &lt;span&gt;&lt;/span&gt;under &lt;/div&gt;
&lt;div&gt;C.R.C.P. 24(a)).&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;Section &lt;span&gt;13&lt;/span&gt;&lt;span&gt;-&lt;span&gt;20&lt;/span&gt;&lt;/span&gt;-1101(7) creates such an exception &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in this case, allowing an appeal from an otherwise nonfinal &lt;span&gt;&lt;/span&gt;order &lt;/div&gt;
&lt;div&gt;denying a special motion to dismiss. &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;Moreover, the relief requested in Magdy&lt;span&gt;âs &lt;/span&gt;motion for &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reconsideration &lt;span&gt;â&lt;/span&gt;fits squarely within&lt;span&gt;â&lt;/span&gt; Rule 59.  &lt;span&gt;Spiremedia&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;Â¶ 18&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The motion sought amendment of the &lt;span&gt;district courtâs&lt;/span&gt; findings and &lt;/div&gt;
&lt;div&gt;of the judgment.  &lt;span&gt;See&lt;/span&gt; C.R.C.P. 59(a)(3), (4).&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;For these reasons, we disagree that the motion for &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;reconsideration constituted a motion under C.R.C.P. 121, section &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;In&lt;/span&gt; &lt;span&gt;Przekurat v. Torres&lt;/span&gt;, 2016 COA 177, Â¶ 53, &lt;span&gt;affâd&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;2018 CO 69, the &lt;/div&gt;
&lt;div&gt;division determined that a C.R.C.P. 59 motion may be filed &lt;span&gt;&lt;/span&gt;only in &lt;/div&gt;
&lt;div&gt;response to a âfinal order or judgment, not a non&lt;span&gt;-final or &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interlocutory order or judgment.â&lt;span&gt;  &lt;/span&gt;But we understand the divisionâs &lt;/div&gt;
&lt;div&gt;statement, when read in context, to mean that Rule 59 applies &lt;span&gt;&lt;/span&gt;only &lt;/div&gt;
&lt;div&gt;to appealable orders.    &lt;span&gt;   &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf8" data-dest-detail='[8,"XYZ",69,170,null]'&gt;&lt;div style="border-style:none;position:absolute;left:222.550556px;bottom:583.995556px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPRFH4LCWF&amp;amp;Expires=1728820995&amp;amp;Signature=pIjAvWNqqC9G5kLpYotY%2BjzOeC0%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEGMaCXVzLWVhc3QtMSJIMEYCIQDSEVhFPXrBZoDQlXBWix35tSCg5QPBboQwdM8HFK317QIhAJPlnc94AV6HincokHpH59NdlvooLHSaFcMy36PUqMDkKroFCLz%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1IgxnK%2Bq%2Fv4XV%2FvyPhr4qjgVnVPq52UdBL4Wp0yrdO%2Ff0ZBAEFS03RSTLteLnRQYeYcIXoVeAnXIw3bUz393kuOtFCKk8NPed7kCs3QdJsTRsEbPqNMfCJ7Xcg9Pbqg7skWMBC82wk45XBb70Pdo6Uz1bKXVtsLqSf38ikj6424ZsQYmlq5JsBFdb0VPegy%2BHrFkPwBHN%2BaPncYhY7H96fmaLm5lIRFtg75jLQAklAg7WpY5MYzqeWlcuYn70GG9Tor8Tdp%2BD8xaZ34RCU834I6SDPcpJcTlkAWbKUuABykeTDNu7AZNpMMp5l8TGYNmrpHLLiuhZHjwlM%2Byvd1WyEENkWMM6T4IkfcFzC39V4ObI1LrbW91Z88XxCXAaw5xI5l5sGCsoKqQSsL0RaM82zfjKpSiQZnBtNFqHWq9m%2BeTSKAD5IzVF51yOWJ9amGy9dpNjVbYphfep0lfAaE%2FBZEcyBlghY6KOX67jIEb36gJStQed0TV5JsYiSSdf%2B8Y%2FkNZwq1VZWwHN5Q57NFv5HP6bvYyFZAAhTd%2FbFbfZuvoXIGsLIZefocN0pQa6CVh6m%2BhC%2Bem%2FIGkWG6R1vKf4390eyzOdO%2FbzdD4Ho0g%2FFo8UvksUsLICMnqTl8eFsV32JHyvEZsZB4lPrU%2BxghE68nrwOYPfXC0rpEywz6eWqfYymTKdroS4iqlXhmHaH54De4hKg9X105i6%2BqeVVSy2q8ieQJ%2Fg1erCAe2otiRHLDdYGpoZHkpGiwiwzGcyXB9xk%2B%2B8LssgSoL3tpWLWqrVvEpv4GLJaqHLUlgBIex4N7tGeoyBIqIxKs%2Fs8evRnToapYZgHFeYSnwI1Kq9sF0sXSsk8%2BTKadx7mtUCOaRIgHcBGCBPGRHQlUDUWXOvMD4wi8yuuAY6sAH5dAK%2BITAWgqyIYAadrAMngUkPc7Z%2B0Ech9LCTxiQSXlq9bFlKhYnF2PabRV25WYVqmO6937mOi%2ByQg4slQovB9lWKRWB9gT3CDwTzW70z8Y0Jji7L04SAhsIX1ZKd3WvSTxYNZqJmufMH7gfLtqfHJoY9KURSS6F41MWO7aBAdDzOBI%2F2MKH5oiwzDGbJsNBUgMSKmtOIyE2fNP4Vv1xU%2BMKhHtBd9jCrFWI%2BzEotfQ%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;1-15(11), which does not toll the time for filing a notice of &lt;span&gt;&lt;/span&gt;appeal.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Rule 121, section 1-15(11) applies to &lt;span&gt;â[m]otions to reconsider &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interlocutory orders of the court . . . other than those &lt;span&gt;&lt;/span&gt;governed by &lt;/div&gt;
&lt;div&gt;C.R.C.P. 59 or 60.â  &lt;span&gt;Because Magdy sought relief from an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appealable&lt;span&gt; interlocutory order, the motion to reconsider was &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;properly âgoverned by C.R.C.P. 59&lt;span&gt;.&lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;Id. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Disposition &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;The motion to dismiss the appeal is denied.&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE SCHUTZ and JUDGE &lt;span&gt;LUM&lt;/span&gt; concur.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;In light of our disposition, we need not consider Magdyâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;alternative request that we extend the time for filing the &lt;span&gt;&lt;/span&gt;notice of &lt;/div&gt;
&lt;div&gt;appeal based on excusable neglect.  &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf9" data-dest-detail='[9,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:515.417222px;bottom:587.100556px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
